Filed 05/29/18                                                  Case 18-90258                                                           Doc 39


                   RELIEF FROM STAY SUMMARY SHEET
       *   *       *    INSTRUCTIONS ON FORM EDC 3-468-INST                         *   *   *
       COMPLETE ALL PORTIONS APPLICABLE TO THE RELIEF FROM STAY MOTION
      THIS IS IN THE NATURE OF A PRETRIAL STATEMENT AND IS NOT EVIDENCE.

      DEBTOR: Andreas Abramson                                CASE NO. 18-90258

      MOVANT: Select Portfolio Servicing, Inc., servicing agent for Deutsche Bank National Trust Company, as trustee for WaMu
      Mortgage Pass-Through Certificates Series 2005-AR13               DC NO. JCW-1

      HEARING DATE/TIME: 07/12/2018 at 10:00AM

      RELIEF IS SOUGHT AS TO:
               ( X ) REAL PROPERTY                Assessor Parcel Number (APN): 061-054-009-000 ________________________
               (    ) PERSONAL PROPERTY If applicable, Vehicle Identification Number (VIN): ______________________
               (    ) STATE COURT LITIGATION
      1. Address OR description of property or state court action _____________________________________________________
         83 Sanguinetti Court, Copperopolis, CA 95228

      2. Movant’s trust deed is a ( X ) 1st ( ) 2nd ( ) 3rd ( ) Other:
         OR
         Leased property is ( ) Residential ( ) Non-residential  Term: (                ) Month-to-Month ( ) Other
      3. Verified appraisal filed?                Movant’s valuation of property: $1,160,027.00
      4. The following amounts are presently owing to movant for:

               PRINCIPAL                INTEREST                    COSTS                     TOTAL
         $          771,953.53     $         79,885.89      $          75,827.58    $            927,667.00
      5. State identity, rank, and balance owing to other known lien holders. Use additional page(s) if necessary:
                                              Goss & Goss                                        $        16,000.00
                                          Michael B. Abramson                                    $       265,411.00
                                      Calavaris County Tax Collector                             $         7,120.00

                                                             TOTAL ALL LIENS                    $      1,571,301.83
                                                             Less 8% Cost of Sale               $         92,802.16

                                                             DEBTOR'S EQUITY                    $      (504,076.99)

      6. Monthly payment is $ 4,869.07 , of which $1,736.40 is for impound account. Monthly late charge is $0.00.
      7. The last payment by debtor was applied to the payment due _07/01/13.
      8. Number of payments past due and amount: (a) Pre-petition 57 $ 208,816.57 (b) Post-petition 0 $0.00
      9. Notice of Default was recorded on         10/13/2017     . Notice of sale published on 02/22/2018        .
      10. If a chapter 13 case, in what class is this claim? N/A ____________________
      11. Grounds for seeking relief (check as applicable):
                   (X) § 362(d)(1)        (X) § 362(d)(2)           ( ) § 362(d)(3)             ( ) § 362(d)(4)
                   (X) Cause     (X) Inadequate protection       (X) Lack of equity ( ) Lack of insurance             ( ) Bad faith
                   ( ) Surrendered pursuant to Statement of Intention. ( ) Report of No Distribution has been filed.
                   ( ) Other __________________________________________________________________________________.
       12. For each ground checked in item 11, furnish a brief supporting statement below:
    Debtor has failed to make regular monthly mortgage payments for the months of 08/01/13 through 04/01/18. Further, after deducting all
    liens, there is no equity in the property.

    EDC Form 3-468 (Rev. 11/10)                                                                        File No. CA-18-145135 Case No. 18-90258
           Relief From Stay Information Sheet                      1
Filed 05/29/18                                                   Case 18-90258                                                Doc 39
                                                                  Liens Continued

                                             Amex                                   $     9,533.83
                                          Capital One                               $     6,904.00
                                          Guy Martin                                $     1,157.50
                                  Investment Retrievers, Inc.                       $   189,000.00
                                 Penninsula Estates Association                     $     1,450.00
                                    Pentech Funding, LLC                            $    11,415.69
                                        Persolve, LLC                               $   120,000.00
                                 Portfolio Recovery Associates                      $    15,642.81




    EDC Form 3-468 (Rev. 11/10)                                                              File No. CA-18-145135 Case No. 18-90258
           Relief From Stay Information Sheet                       2
Filed 05/29/18                                              Case 18-90258                                                                 Doc 39


                                                           INSTRUCTIONS


        TO EXPEDITE THE HANDLING OF MOTIONS FOR RELIEF FROM THE AUTOMATIC
        STAY, THE INFORMATION SHEET ON THE REVERSE SHALL BE COMPLETED BY THE
        MOVING PARTY PURSUANT TO THE INSTRUCTIONS BELOW. EXCEPT FOR UNUSUAL
        CIRCUMSTANCES, MOTIONS FOR RELIEF FROM STAY WILL NOT BE CONSIDERED BY
        THE COURT UNTIL A PROPERLY COMPLETED RELIEF FROM STAY INFORMATION
        SHEET FORM IS FILED AND SERVED BY THE MOVING PARTY.

            1.     WITH YOUR MOVING PAPERS, FILE TWO PALE YELLOW1 COPIES OF THIS
                   COMPLETED INFORMATION SHEET AS SEPARATE DOCUMENTS. FAILURE TO
                   COMPLY WITH THIS REQUIREMENT CAN RESULT IN DENIAL OF THE MOTION
                   OR A CONTINUANCE OF THE HEARING.

            2.     ITEMIZE ANY “COSTS” ENTERED ON THE INFORMATION SHEET IN THE
                   DECLARATION FILED IN SUPPORT OF THE MOTION, WITH PRE-PETITION
                   AND POST-PETITION COSTS SEPARATELY GROUPED.

            3.     IF THE MOVING PARTY IS SEEKING RELIEF FROM STAY TO PURSUE A STATE
                   COURT ACTION, A BRIEF DESCRIPTION OF THE NATURE OF THE STATE
                   COURT ACTION SHALL BE SET FORTH IN THE SPACE PROVIDED FOR ITEM
                   11.




        Please do not use goldenrod paper as that color does not result in a quality image when scanned in the
        Court’s Electronic Case Files (ECF) System accessible at www.caeb.uscourts.gov.

                 EDC Form 3-468 Revised 3/27/01                                              File No. CA-18-145135 Case No. 18-90258
                                                                 1                                   Relief From Stay Information Sheet
